                        IN THE UNITED STATES DISTRICT COURT                            03/31/2019
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                        LYNCHBURG DIVISION



   ROBERT E. LEE SUPINGER, JR.,                       CASE NO. 6:15-cv-00017
                                        Plaintiff,

                         v.                           ORDER

   COMMONWEALTH OF VIRGINIA, ET AL.,
                                                      JUDGE NORMAN K. MOON
                                    Defendants.

         This matter is before the Court upon Plaintiff’s motions for attorneys fees and costs,

  (dkts. 211, 213), the Report and Recommendation of U.S. Magistrate Judge Robert Ballou, (dkt.

  236), and both parties’ objections thereto. (Dkts. 240, 241). For the reasons explained in the

  forthcoming memorandum opinion, the Court hereby OVERRULES Plaintiff’s objections, (dkt.

  241), SUSTAINS IN PART and OVERRULES IN PART Defendant’s objections, (dkt. 240),

  ADOPTS the R&R as modified, (dkt. 236), and GRANTS Plaintiff’s motions for attorneys fees,

  (dkt. 211), and costs, (dkt. 213), awarding Plaintiff fees and costs in the amount specified in the

  forthcoming memorandum opinion.

         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to all counsel of

  record, and to strike this case from the Court’s active docket.
                      31st day of March, 2019.
         Entered this _____




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